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                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                            : Bankruptcy No. 17-24818-GLT
                                                  :
MARTHA C. PEELOR                                  : Chapter 7
                                                  :
                               Debtor             :
                                                  :
    Natalie Lutz Cardiello, Trustee               :
                                                  :
               Movant                             :
                                                  :
      v.                                          :
                                                  :
    United States of America, Internal            :
    Revenue Service; Commonwealth of              :
    Pennsylvania, Department of Revenue;          :
    County of Allegheny; Municipality of          :
    Bethel Park; Bethel Park School District;     :
    Jordan Tax Service; and PNC Bank              :
                                                  :
               Respondents                        :

                                         CERTIFICATE OF SERVICE
                                                        of
                                                  Notice of Sale,
                                          Notice of Hearing on Motion
                                  to Sell Property Free and Divested of Liens
                                                       and
                              Motion to Sell Real Estate Free and Clear of Third
                         Party Interests, Liens, Claims, Charges and/or Encumbrances

I certify under penalty of perjury that I served or caused to be served the above captioned pleading(s) on
the parties at the address specified below or on the attached list on February 5, 2019.

The type(s) of service made on the parties (first class mail, electronic notification, hand delivery, or
another type of service) was: first class mail.


Service of Notice of Hearing and Motion to Sell Real Estate

                      
          Case 17-24818-GLT
PARTIES DESIGNATED AS "EXCLUDE" WEREDoc
                                     NOT 51
                                         SERVEDFiled 02/05/19
                                                VIA USPS         Entered
                                                         FIRST CLASS MAIL 02/05/19 12:31:57      Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document       Page 2 of 4
INTERNAL REVENUE SERVICE                 THE ATTORNEY GENERAL OF THE UNITED      UNITED STATES ATTORNEY S OFFICE
PO BOX 7346                              STATES                                  WESTERN DISTRICT OF PENNSYLVANIA
PHILADELPHIA PA 19101-7346               CIVIL DIVISION BANKRUPTCY SECTION       700 GRANT STREET SUITE 4000
                                         US DEPARTMENT OF JUSTICE                PITTSBURGH PA 15219
                                         WASHINGTON DC 20530




OFFICE OF THE UNITED STATES TRUSTEE      PENNSYLVANIA DEPARTMENT OF REVENUE      CHRISTOS A KATSAOUNIS ESQUIRE
LIBERTY CENTER SUITE 970                 DEPARTMENT 280946                       OFFICE OF THE CHIEF COUNSEL
1001 LIBERTY AVENUE                      ATTN BANKRUPTCY DIVISION                DEPARTMENT 28106
PITTSBURGH PA 15222                      HARRISBURG PA 17128-0946                HARRISBURG PA 17128




ERNEST ROBERT ROSSI KAREN S ROSSI        PNC BANK                                JOHN WEINSTEN ALLEGHENY COUNTY
ASSET PROTECTION TRUST                   ATTN MICHAEL J HANNON CCO               TREASURER
105 LONGUEVUE DRIVE                      249 FIFTH AVENUE                        ROOM 109 COURTHOUSE
PITTSBURGH PA 15228                      PITTSBURGH PA 15222                     436 GRANT STREET
                                                                                 PITTSBURGH PA 15219-2497




JORDAN TAX SERVICE                       MUNICIPALITY OF BETHERL PARK            BETHEL PARK SCHOOL DISTRICT
102 RAHWAY ROAD                          ATTN FINANCE DIRECTOR                   ATTN FINANCE DIRECTOR
MCMURRAY PA 15317                        5100 WEST LIBRARY AVENUE                301 CHURCH ROAD
                                         BETHEL PARK PA 15102                    BETHEL PARK PA 15102
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Service of Notice of Sale

(p)US BANK PO BOX 5229
CINCINNATI OH 45201-5229
 

American Express Centurion Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern PA 19355-0701
 

AMEX
PO Box 297871
Fort Lauderdale, FL 33329-7871
 
 

BK Global Real Estate Services
1095 Broken Sound Pkwy NW Suite 100
Boca Raton, FL 33487-3503
 

Capital One PO Box 30253
Salt Lake City, UT 84130-0253
 

CBNA
PO Box 6497
Sioux Falls, SD 57117-6497
 
Central Credit Services LLC
500 North Franklin Turnpike, Suite 200
Ramsey, NJ 07446-1178
 
Chase
P.O. Box 15298
Wilmington, DE 19850-5298
 
Citi
P.O. Box 6241
Sioux Falls, SD 57117-6241
 
Comenity Bank PO Box 182789
Columbus, OH 43218-2789
 
Credit First
6275 Eastland Road
Brook Park, OH 44142-1399
 
James C. Ickes
105 Cypress Court
Venetia, Pa 15367-1463
 
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Kohl's
N56W17000 Ridgewood Drive
Menomonee Falls, WI 53051-7096
 
Martha C. Peelor
7 Dorchester Drive
Apt. 411
Pittsburgh, PA 15241-1026
 
Northland Group, Inc.
P.O. Box 390905
Minneapolis, MN 55439-0905
 
Ogg, Murphy & Perkosky, PC
245 Fort Pitt Boulevard
Pittsburgh, PA 15222-1511
 
PYOD, LLC its successors and
assigns of Citibank, N.A.
Resurgent Capital Services
PO Box 19008
Greenville, SC 29602-9008
 
Quantum3 Group LLC
as agent for Crown Asset Management LLC
PO Box 788
Kirkland, WA 98083-0788
 



Re/Max Select Realty
1761 Golden Mile Hwy
Monroeville, PA 15146-2011
 

SYNCB
PO Box 965036
Orlando, FL 32896-5036


EXECUTED ON: February 5, 2019

                                          By:   /s/Natalie Lutz Cardiello
                                                Natalie Lutz Cardiello
                                                PA ID# 51296
                                                107 Huron Drive
                                                Carnegie, PA 15106
                                                ncardiello@comcast.net
                                                (412) 276-4043
                              
